                             UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                              DOCKET NO. 3:95-cr-00031-MOC

 UNITED STATES OF AMERICA,                      )
                                                )
                                                )
                                                )
 Vs.                                            )                      ORDER
                                                )
 MARCUS DEVARD MASSEY,                          )
                                                )
                  Defendant.                    )



       THIS MATTER is before the court on defendant’s Motion for Termination of

Supervised Release. While such motion does not reflect whether defendant’s supervising officer

agrees to early termination, the court has contacted the United States Probation Office and it

appears from an email from the Supervisory USPO Office that neither USPO Bonelli nor USPO

Horton oppose the request as defendant has, despite an earlier violation, been compliant for 5

years. The court will, therefore, grant the defendant’s request but caution him to remain on the

better path he has chosen as the alternative is simply more incarceration.

                                           ORDER

       IT IS, THEREFORE, ORDERED that defendant’s Motion for Termination of

Supervised Release (#404) is GRANTED and supervision is TERMINATED successfully.




 Signed: March 31, 2016




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